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 6   Attorney for Defendant
     CHRISTOPHER BADSEY
 7                       UNITED STATES DISTRICT COURT
 8
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
                                   SOUTHERN DIVISION
10

11

12 UNITED STATES OF AMERICA,                CASE NO. CR SA 21-124-JLS
13              Plaintiff,                  DEFENDANT CHRISTOPHER
         vs.
14
                                            BADSEY’S SUPPLEMENTAL
     CHRISTOPHER BADSEY,                    SENTENCING MEMORANDUM;
15                                          EXHIBITS
                Defendant.
16
                                            Sentencing Date: August 23, 2024
17                                          Time: 9:30 a.m.
18                                          Location: Courtroom of the Honorable
                                            Josephine L. Staton
19
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 1
           Defendant Christopher Badsey, through counsel, hereby submits his
 2
     Supplemental Sentencing Memorandum, including Exhibits.
 3
           Mr. Badsey would like the opportunity to address the court at the sentencing
 4
     hearing in this matter.
 5

 6
     Date: August 19, 2024             Respectfully submitted:
 7

 8
                                       LAW OFFICE OF PATRICK W. McLAUGHLIN

 9                                     By:   ___/s/________________________
10
                                             PATRICK W. McLAUGHLIN
                                             Attorney for Defendant
11                                           CHRISTOPHER BADSEY
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                                                I.
                               INTRODUCTORY COMMENTS
 3
           On April 13, 2023, Defendant Christopher Badsey, through counsel, pleaded
 4
     guilty to Counts One through Four of the Indictment. Mr. Badsey has been in custody
 5
     since February 9, 2024.
 6
           In its Revised Letter of Recommendation, the U.S. Probation office
 7
     recommended a 78-month term of imprisonment, a three-year term of supervised
 8
     release, and a special assessment fee of $400. A 78-month term of imprisonment is at
 9
     the very top of the advisory Sentencing Guidelines range of 63-78 months. Mr. Badsey
10
     contends such a sentence is far too severe.
11
           The government has recommended a 72-month term of imprisonment, in the
12
     middle of the advisory Sentencing Guidelines range. Mr. Badsey contends that the
13
     recommendation by the government is also too severe.
14
           This Court is respectfully requested to follow the defense’s sentencing
15
     recommendation and sentence defendant Christopher Badsey (“Mr. Badsey”) to a term
16
     of imprisonment of one year and one day, a three-year term of supervised release, and
17
     a special assessment of $400.00. This sentence properly reflects the interests of justice
18
     while taking into account society’s interests, including deterrence.
19
           Moreover, there are mitigating circumstances present for Mr. Badsey. He is the
20
     father of Bianca, his young daughter who was living with Mr. Badsey until his arrest
21
     on February 9, 2024. Bianca is now living with her mother who, as described below,
22
     appears completely incapable of raising Bianca in a loving and nurturing manner.
23
     Society will not benefit if a significant prison sentence is imposed on Mr. Badsey
24
     because it will mean that Bianca will continue living with her mother, or be sent to
25
     live in foster care. Mr. Badsey wishes to be reunited with Bianca as soon as possible.
26
           Mr. Badsey does not dispute the significance of the laws he violated or his
27
     conduct that initially led to his release on bond, and disclosure of falsified letters of
28
     recommendation and medical records. Mr. Badsey is eager to demonstrate that he is
                                                3
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 1
     a changed man and that the decisions he has made that led to his indictment and the
 2
     necessity to appoint new counsel do not define him.
 3
           Mr. Badsey requests compassion. He stands before the Court as a man who has
 4
     knowingly violated the laws of the United States. For the aforementioned reasons and
 5
     those specified below, the Court should sentence Mr. Badsey to a one year and one
 6
     day term of imprisonment, a three-year term of supervised release, and a special
 7
     assessment of $400.00.
 8

 9
     A.    The Court Should Depart Downward and/or Apply a Variance.
10
           When a court is analyzing a departure, it should consider the following: (1) the
11
     features of the case that take it outside the Guidelines’ “heartland” and make it special
12
     or unusual; (2) whether the United States Sentencing Commission (the “Commission”
13
     or “USSC”)) has forbidden departures based on those features; (3) whether the
14
     Commission has encouraged departures based on those features; and (4) whether the
15
     Commission has discouraged departures based on those features. Koon v. United
16
     States, 518 U.S. 81, 94 (1996). Mr. Badsey’s personal life, particularly the need to
17
     care for his young daughter, take this case out of the Guidelines’ “heartland” and make
18
     it unusual. See id. The facts discussed below support the imposition of a reduced
19
     sentence.
20
     B.    Mr. Badsey’s Circumstances Call for a Reduced Sentence.
21         When analyzing the type of sentence to impose, the district court must consider
22 “…the nature and circumstances of the offense and the history and characteristics of

23 the defendant…” 18 U.S.C. § 3553(a)(1). Mr. Badsey acknowledges that he engaged

24 in criminal conduct and he has entered guilty pleas to four counts of the indictment.

25 Mr. Badsey has no prior felony convictions and only one prior misdemeanor, which

26 places him in Criminal History Category II.

27         Mr. Badsey’s Criminal History is overstated for the reasons stated in the original
28 Sentencing Memorandum filed by prior counsel. Furthermore, it is not clear from the


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 1 misdemeanor docket sheet (attached hereto as Exhibit A) whether Mr. Badsey actually

 2 served “90 days in jail.” Mr. Badsey contends that he served no time in custody on

 3 his misdemeanor conviction. Mr. Badsey contends that this Court should find that he

 4 belongs in Criminal History Category I, instead of Criminal History Category II.

 5         Based on the factors described in this Supplemental Sentencing Memorandum,
 6 Defendant Christopher Badsey respectfully requests, through counsel, that he be

 7 sentenced to one year and one day in custody. In addition, he should be placed on

 8 supervised release for a term of three years. Such a sentence would be “sufficient but

 9 not greater than necessary” to effectuate justice in this case and would satisfy the

10 sentencing factors set forth in 18 U.S.C. §3553(a).

11
                                            II.
12
                          ACCEPTANCE OF RESPONSIBILITY
13
           Mr. Badsey agrees that he should not receive a three-level reduction for
14
     acceptance of responsibility for the reasons that led to the appointment of new counsel.
15
                                    III.
16                  COMMENTS ON THE PRESENTENCE REPORT
17         Mr. Badsey “understand[s] that the court must consult the United States
18 Sentencing Guidelines and take them into account when sentencing together with the

19 factors set forth in 18 U.S.C. §3553(a).”
20         In the PSR, the United States Probation Office determined the total offense to
21 be 25. PSR ¶82. If Mr. Badsey is in Criminal History Category II, this corresponds

22 to an advisory Sentencing Guidelines range of 63-78 months. PSR ¶163. However,

23 if the Court finds that Criminal History Category II overstates Mr. Badsey’s criminal

24
     history, the range would be 57-71 months.
                                               IV.
25
      THE HISTORY AND CHARACTERISTICS OF CHRISTOPHER BADSEY
26
     SUPPORT THE REQUESTED SENTENCE OF ONE YEAR AND ONE DAY
27
           In Gall v. United States, 552 U.S. 38 (2007), the U.S. Supreme Court advised
28
     that in addition to considering the Guidelines, the “district court should…consider all

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     the 3533(a) factors to determine whether they support the sentence requested by a
 2
     party. In so doing, [the court] may not presume that the Guidelines range is reasonable.
 3
     [The court] must make an individualized assessment based on the facts presented.”
 4
     Gall at 596-597.
 5           Furthermore, “‘[i]t has been uniform and constant in the federal judicial
 6 tradition for the sentencing judge to consider every convicted person as an individual

 7 and every case as a unique study in the human failings that sometimes mitigate,

 8 sometimes magnify, the crime and the punishment to ensue.’” Pepper v. United States,

 9 562 U.S. 476 (2011) quoting Koon v. United States, 518 U.S. 81, 113 (1996). The

10 Supreme Court has found that “[u]nderlying this tradition is the principle that ‘the

11 punishment should fit the offender and not merely the crime.’” Id. at 1240, quoting

12 Williams v. People of the State of New York, 337 U.S. 241, 247 (1949). The Supreme

13 Court has “emphasized that [h]ighly relevant – if not essential – to the selection of an

14 appropriate sentence is the possession of the fullest information possible concerning

15 the defendant’s life and characteristics.”

16           In keeping with the above, the following background information about
17 Christopher Badsey is presented to the Court in the spirit of 18 U.S.C. §3661, which

18 states that “no limitation shall be placed on the information concerning the background,

19 character and conduct of a person convicted of an offense which a court of the United
20 States may receive and consider for the purpose of imposing an appropriate sentence.

21      A.      Family Background
22           Christopher Badsey was born on January 3, 1961 in South Africa. Mr. Badsey’s
23 mother was not involved in his upbringing. Mr. Badsey had a very difficult childhood.

24 His father was an alcoholic who beat Mr. Badsey with his fists. PSR ¶s 109, 112.

25 B.        Relationships and Children
26           Mr. Badsey is single, has never been married, but has four minor children from
27 two previous relationships. Of particular note is his 11-year-old daughter, Bianca. As

28 can be seen from the letter from Transforming Lives Counseling (Exhibit B) and the


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 1
     letter from Celebrating Life Community Health Clinic (Exhibit C), Bianca needs to be
 2
     reunited with her father.
 3
           In further support of Mr. Badsey’s desire to once again become the primary
 4
     caregiver of Bianca, is the declaration of Giselle Couture (Exhibit D) filed in Orange
 5
     County Superior Court Case No. 17P001610. Ms. Couture’s declaration sets forth in
 6
     vivid detail what occurred after Mr. Badsey’s arrest on February 9, 2024.
 7
                                                V.
 8
                  A REVIEW OF THE §3553(A) FACTORS SUPPORTS
 9                               THE REQUESTED SENTENCE
10         Under the principles set forth in United States v. Booker, 543 U.S. 220 (2005),
11 the United States Sentencing Guidelines are now, of course, purely advisory. The

12 Guidelines are one among a number of factors that sentencing courts are directed to

13 assess in imposing a sentence that is “sufficient, but not greater than necessary” to

14 achieve the purposes of sentencing set forth in 18 U.S.C. § 3553(a)(2).             Neither
15 §3553(a) nor Booker suggests that any of these factors is individually paramount. All

16 of them, however, are controlled by §3553(a)’s mandate to impose a sentence

17 “sufficient, but not greater than necessary” to comply with the purposes of sentencing.

18         Numerous appellate decisions from various circuit courts have clarified the role
19 and approach of the sentencing court in the post-Booker era. The Ninth Circuit has
20 held that “Booker empowered district courts, not appellate courts.... [and] breathe[d]

21
     life into the authority of district court judges to engage in individualized sentencing.”
     United States v. Whitehead, 532 F.3d 991, 993 (9th Cir. 2008) (citations omitted). The
22
     Ninth Circuit has also determined that in weighing the sentencing decisions of a
23
     district court, the proper standard is abuse of discretion, and it will not “second guess”
24
     the court’s conclusions so long as they are reasonable. United States v. Menyweather,
25
     447 F.3d 625, 633 (9th Cir. 2006).
26
           Further, the Seventh Circuit has stated that post-Rita “[t]he district courts must
27
     calculate the advisory sentencing guideline range accurately, so that they can derive
28
     whatever insight the guidelines have to offer, but ultimately they must sentence based

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     on 18 U.S.C. § 3553(a) without any thumb on the scale favoring a guideline sentence.”
 2
     United States. v. Sachsenmaier, 491 F.3d 680, 685 (7th Cir. 2007) (referencing Rita v.
 3 United States, 551 U.S. 338 (2007)).

 4
           Since his arrest on February 9, 2024, Mr. Badsey has made good use of his time
 5
     at the Metropolitan Detention Center (“MDC”). He has been designated as a Suicide
 6
     Watch Companion (Exhibit E).Mr. Badsey has been entrusted with the responsibility
 7
     of keeping an eye on fellow inmates who might be contemplating suicide.
 8
           Mr. Badsey does not dispute that this is a serious case. He has entered guilty
 9
     pleas to four significant federal offenses. However, his role of a loving, caring father
10
     to Bianca, coupled with his responsibilities as a Suicide Watch Companion at MDC
11
     show a very different, positive side of Mr. Badsey.
12
                                               VI.
13
                                        CONCLUSION
14         Based on the aforementioned factors, defendant Christopher Badsey, through
15 counsel, respectfully requests that he receive a one year and one day term of

16 imprisonment, to be followed by a three-year term of supervised release, and a $400.00

17 special assessment.      Such a sentence would be “sufficient but not greater than
18 necessary” to achieve justice in this case, and would fulfill the sentencing factors set

19 forth at 18 U.S.C. §3553(a).
20
     Date: August 19, 2024            Respectfully submitted:
21

22                                    LAW OFFICE OF PATRICK W. McLAUGHLN
23
                                      By    _/s/______________________________
24                                          PATRICK W. McLAUGHLIN
                                            Attorney for Defendant
25
                                            CHRISTOPHER BADSEY
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